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Email Message

From: Eastman, Brad

Sent: Monday, December 12, 2011 8:07 PM

To: Maureen. Martin@chartisinsurance.com; Bryan, Richard W.; Koepff, Paul; Boettjer,
Shannon, kate.daly@xlgroup.com; jeffrey.roberts@libertyiu.com; anusum@chubbatlantic.bm;
Michael L. Larsen; larry.engrissei@ironstarrexcess.com; NatashaNye@petersnye.com;

kevin. williams@argore.com

CC: Sledge, Chuck; Lemmer, William; Black, Tony; Auslander, Mitchell; Moore, Jack B; Lee,
Rusty, Fraser, Stephen D; timothy.j.kenny@marsh:com; Williams, Jeffrey

Subject: Proposed Cameron/BP Settlement

Attachments: BP-Cameron Draft Settlement Draft 12-12-11 (Clean).docx

Dear Counsel,

This is Mitch Auslander, | am sending this email from Brad’s computer. | am writing to inform you of
today’s developments in the BP/Cameron matter. The upshot is that Cameron and BP have reached a
tentative agreement to settle the case. The proposed agreement which is attached is subject to
approval by Cameron’s board and Cameron’s insurers’ consent.

Following the suggestion of some of the insurers, the parties appeared before Magistrate Judge Shushan
in New Orleans today to discuss settlement. We explained to her that BP’s and Cameron’s CEOs had
met over the weekend and narrowed the gap on the settlement amount. It was agreed that the amount
would be $250M subject to working out all non-financial terms and conditions, We informed the court

- of the remaining issues, including BP’s demand that Cameron waive its indemnity rights against TO. She
asked several questions about the insurers’ positions on subrogation rights. We told her the insurers
were reserving their rights on this and all other issues.

Judge Shushan then sent the parties into her chambers to work through all the non-financial issues. The
parties went through the draft agreement you have seen on a paragraph by paragraph basis. Judge
Shushan intervened from time to time to make sure the parties were progressing. In one case, the
Judge suggested wording that the parties accepted. At around 5:45, the parties informed the court they
had agreement on ail terms though they needed time to go over the settlement document carefully.
That will happen tonight. We will let you know if the discussions tonight result in any changes.

Before the parties ended for the day, Judge Shushan told us we should inform Cameron’s insurers that,
in the court’s view, this was a very good deal for Cameron. She said Cameron's potential exposure far
exceeded the settlement amount and that the insurers would be “mighty shortsighted” not to accept
the deal even though they would be giving up their subrogation rights. She pointedly noted that if BP
and Cameron settled and the insurers insisted on preserving subrogation rights, the insurers should be
prepared to go to trial on their claims against TO on February 27, 2012 when the case is scheduled for
trial. She set a deadline of noon central time on Wednesday for the parties to tell her whether they
have a deal. ‘

Cameron’s board will meet Tuesday morning to consider the settlement. Cameron’s defense counsel
will be recommending that Cameron accept the deal subject to the insurers’ consent. We will let you
know when the board has acted.

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As you know, Cameron and BP have been in active negotiations for many weeks. Those negotiations
have resulted in a proposed agreement that Cameron and its defense counsel believe is very favorable
to Cameron. Cameron and its counsel also believe that failure to settle now could resultin dire
consequences to Cameron and/or its insurers. Judge Shushan, who is obviously close to Judge Barbier,
agrees. Accordingly, Cameron respectfully requests that all of its insurers consent to the settlement as
proposed before the close of business on Tuesday so we can meet the court's deadline of noon on
Wednesday.

We thank you for your prompt consideration and would be happy to answer any questions.

Mitch

Brad Eastman
Vice President, Deputy General Counsel

CAMERON
Cameron

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SUBJECT TO FEDERAL RULE OF EVIDENCE 408
NON-BINDING AND SUBJECT TO BOARD APPROVAL
DRAFT OF DECEMBER 12, 2011 3:00 PM

CONFIDENTIAL SETTLEMENT AGREEMENT, MUTUAL RELEASES
AND AGREEMENT TO INDEMNIFY

This Confidential Settlement Agreement, Mutual Releases and Agreement to Indemnify
(“Agreement”) is entered into this sth day of December 2011 (the “Effective Date”), by BP
Exploration & Production Inc. (“BPXP”) and Cameron International Corporation (“Cameron”).
Where applicable, BPXP and Cameron will be referred to collectively as the “Parties” and
individually as a “Party.” BP Corporati i “BPCNA”) shail be a party to
this Agreement solely for the purposes of

For and in consideration of the mutual promises and releases set forth in this Agreement,
and for other good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, the Parties stipulate and agree as set forth herein below.

J. RECITALS AND ACKNOWLEDGEMENTS

1.1 BPXP and Cameron are defendants in lawsuits in state and federal courts arising
out of or related to the Deepwater Horizon Incident, including lawsuits that have been
consolidated in the multidistrict litigation pending before Judge Carl J. Barbier in the United
States District Court for the Eastern District of Louisiana (“MDL 2179”). BPXP and Cameron
may also be sued, have Claims made against them, or be subject to investigation in future
lawsuits, administrative or regulatory proceedings, or government investigations or prosecutions
related to and arising out of the Deepwater Horizon Incident. The present and future Claims,
administrative and/or regulatory proceedings, or investigations related to and arising out of the
Deepwater Horizon Incident in which BPXP and Cameron are or become parties or are
otherwise involved shall be referred to collectively and individually as “the Litigation.”

1.2 BPXP and Cameron each acknowledge that the Deepwater Horizon Incident was
the product of complex and interlinked causes involving multiple parties from which the entire
industry can and should learn in order to improve safety in the drilling industry, including
standard specifications for blowout preventers and other drill through equipment. Accordingly,
BPXP and Cameron commit to working together to improve processes and procedures,
managerial systems, specifications, and safety and best practices in offshore drilling operations,
BPXP and Cameron will encourage other companies in the drilling industry to join them in this
improvement and reform effort.

1.3. BPXP and Cameron desire to resolve the disputes between them related to and
arising out of the Deepwater Horizon Incident. BPXP and Cameron desire to resolve any and all
disputes between them as to any alleged liability to the other related to or arising out of the
Deepwater Horizon Incident, whether such disputes sound in contract or tort or otherwise, as and
to the extent provided herein.

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14  BPXP and Cameron each have determined independently that it is in their best
interests to reach a global settlement regarding the Litigation. This Agreement is not an
admission of any liability by any party regarding the Deepwater Horizon Incident. The Parties
agree and acknowledge that this Agreement has been reached after arm’s length negotiations,
with each Party compromising its Claims and defenses for value that it considers to be fair and
reasonable in view of the risks and costs associated with litigation.

i. DEFINITIONS

In addition to the terms defined elsewhere in the Agreement, the following terms shall be
defined as follows for the purposes of this Agreement, including all of its exhibits:

2.1 The “BP Released Parties” shall mean BPXP and each of its past and present
Affiliates (including BP p.I.c. and its subsidiaries and subsidiary undertakings (as those terms are
defined in the UK. Companies Act 2006)), and each of their respective business units,
predecessors, and successors, and each of their respective agents, servants, representatives,
officers, directors (or Persons performing similar functions), employees, attorneys and
administrators, all and only in their capacities as such.

2.2 The “BP Releasing Parties,” shall mean BPXP and each of its past and present
Affiliates (including BP p.l.c. and its subsidiaries and subsidiary undertakings (as those terms are
defined in the UK. Companies Act 2006)), and each of their respective business units,
predecessors, and successors.

2.3 The “Cameron Released Parties” shall mean Cameron and each of its past and
present Affiliates, and each of their respective business units, predecessors, and successors, and
each of their respective agents, servants, representatives, officers, directors (or Persons
performing similar functions), employees, attorneys and administrators, all and only in their
capacities as such.

2.4 The “Cameron Releasing Parties” shall mean Cameron and each of its past and i
present Affiliates, and each of their respective business units, predecessors, and successors. i

2.5 “Claims” shall mean any claim, counterclaim, cross-claim, demand, charge,
dispute, controversy, action, cause of action, suit, proceeding, arbitration, alternative dispute
resolution, inquiry, investigation or notice, whether of a civil, criminal, administrative,
investigative, private or other nature, and whether pending, threatened, present or initiated in the
future and whether known or unknown, suspected or unsuspected, under any current or future
local, state, federal, foreign, tribal, supranational or international law, regulation, equitable
principle, contract or otherwise for any damage of any kind or nature whatsoever, including but
not limited to personal injury, bodily injury, death, special and general damages, property
damage, economic loss, business interruption, damage to natural resources, medical or
environmental monitoring or testing, special, consequential, general, and any compensatory

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damages under federal, state or local laws related to pollution, and damages related to any
offshore drilling moratorium, whether brought directly, by subrogation, assignment or otherwise.

2.6 The “MC252 Well” shall refer to the exploratory well that was being drilled on
and before April 20, 2010 in block 252 of the Mississippi Canyon protraction area of the Gulf of
Mexico, commonly called the Macondo Prospect.

2.7 The “Deepwater Horizon Incident” shalt, for purposes of this Agreement, refer to
the design, planning, preparation or drilling of the MC252 Well; the services, products,
equipment, spare parts, and modifications contracted for or provided by Cameron, its Affiliates
or by any other Person with respect to the MC252 Well, the Deepwater Horizon rig, and any
appurtenances or drilling equipment on the rig, including the BOP and its associated controls
equipment, whether deployed subsea or on the rig; the blowout and explosion on the Deepwater
Horizon mobile offshore drilling unit or rig that occurred on April 20, 2010; the ensuing fire and
loss of life, personal injury, and bodily injury; the sinking of the rig and the resulting release of
hydrocarbons and other pollutants from the MC252 Well site and the Deepwater Horizon rig;
any damages to any reservoir, aquifer, geological formation or underground strata; the relief well
efforts, the subsequent clean up and remediation efforts and all other responsive actions taken in
connection with the blowout of the MC252 Well.

2.8 “Transocean” refers to Transocean Ltd. and each of its past and present Affiliates,
and each of their respective business units, predecessors, and successors, and each of their
respective agents, servants, representatives, officers, directors (or Persons performing similar
functions), employees, attorneys and administrators, all and only in their capacities as such

2.9 “Transocean Contracts” shall refer to all contracts between any Cameron
Releasing Party and Transocean, including (i) the “Master Service Agreement” between
Transocean Offshore Deepwater Drilling Inc. and Cameron Division and Cameron Controls
Division, Cooper Cameron Corporation with an effective date of September 28, 2000; (ii) the
“Master Services Agreement - Worldwide Operations” between Applied Drilling Technology
Inc, and Cameron Division, Cooper Cameron Corporation” with an effective date of March 29,
2006; (iii) all purchase orders and related terms and conditions between R&B Falcon Drilling
Co. and a Cameron Affiliate related to the blowout preventer for the Deepwater Horizon; and
(iv) repair quotes between Transocean and any Cameron Releasing Party.

2.10 “Person” shall mean any individual, estate, bank, corporation, company, general
or limited partnership, association, limited liability company, body corporate, business trust,
unincorporated organization or similar organization or other entity, whether domestic or foreign,
or any Governmental Entity.

2.11 “Affiliate” of a Person shall mean a Person that directly or indirectly through one
or more intermediaries controls, is controlled by, or is under common control with, the first
Person. “Control” (including the terms “controlled by” and “under common control with”)
means the possession, directly or indirectly, of the power to direct or cause the direction of the

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management policies of a Person, whether through the ownership of voting securities, by
contract or credit arrangement, as trustee or executor, or otherwise.

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2.12 “Working Interest Owners” refers to MOEX Offshore 2007 LLC and Anadarko
Petroleum Corporation, and their Affiliates, and each of their officers, directors (or Persons
performing similar functions), employees, agents and representatives, all and only in their
capacities as such,

2.13 “Cameron Insurers” shall mean any and all primary, umbrella, and excess
insurers, subscribing insurers, and reinsurers that issued or subscribed to any insurance policy
that was in effect on April 20, 2010, all and only as listed in Exhibit A to this Agreement
(collectively, “Cameron Policies”), but only in such insurers’, subscribing insurers’, and
reinsurers’ respective capacities as insurers, subscribing insurers, or reinsurers of Cameron
Released Parties under such Cameron Policies.

2.14 “Third Party” shall mean any Person other than Cameron Released Parties, BP
Released Parties, or Cameron Insurers,

2.15 The term “including” means “including without limitation” and the term
“includes” means “includes without limitation.”

2.16 The term “approval” means a written approval.

Il. CASH PAYMENT

3.1 Within 30 days of the Effective Date, Cameron and/or its Affiliates shall pay in
cash to BPXP, or one of BPXP’s Affiliates nominated by BPXP, the total sum of two-hundred-
fifty million dollars ($250,000,000) in cash (the “Cash Payment”) by wire transfer of same day
funds to one or more accounts designated by BPXP.

3.2 BPXP will use the Cash Payment to pay the claims of Persons whose injuries and
damages are alleged to arise out of or relate to the Deepwater Horizon Incident.

3.3 If @) the Cash Payment is not timely made in full, without set-off, deduction or
withholding or (ii) if any portion of the Cash Payment is avoided, set aside, or recovered for any
reason whatsoever from BPXP or one of its Affiliates by any Person; then at BPXP’s election
this Agreement, including Articles IV and V, shall be null and void, and all or any part of the
Cash Payment in the possession, custody, or control of BPXP or any of its Affiliates shall be
returned to Cameron. This Paragraph does not limit BPXP’s remedies, and BPXP also may
alternatively sue to enforce this Agreement and its promise of payment and other terms.

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IV. RELEASES

4.1 In consideration of and for the promises identified herein, the Parties make the
following releases with respect to the Deepwater Horizon Incident:

(a) The BP Releasing Parties hereby release and forever discharge the
Cameron Released Parties from any and all past, present or future Claims,
demands, lawsuits, damages, obligations, promises, losses, liabilities or
costs of any kind, nature or description whatsoever, including tort claims,
contract claims, warranty claims, statutory claims, declaratory judgment
actions, counterclaims, cross-claims, demands and claims for damages,
including Claims for or based on payments made to or by the Gulf Coast
Claims Facility (‘GCCF”), that the BP Releasing Parties have, ever had,
hereafter may have, or have acquired or may hereafter acquire by
assignment or operation of law, against Cameron Released Parties,
including all Claims for subrogation, contribution or indemnity and all
claims arising under any other theory of recovery, whether known or
unknown, suspected or claimed, whether or not yet asserted or accrued,
arising out of or related to the Deepwater Horizon Incident. The BP
Releasing Parties agree and covenant not to assert any Claim against the
Cameron Released Parties, whether by complaint, cross-claim,
counterclaim or other type of demand, for any loss, injury or damage
arising out of in any way or related to the Deepwater Horizon Incident.

(b) The BP Releasing Parties hereby release and forever discharge the
Cameron Insurers from any and all past, present or future Claims,
demands, lawsuits, damages, obligations, promises, losses, liabilities or
costs of any kind, nature or description whatsoever under or related to the
Cameron Policies, including tort claims, contract claims and any claims
that the BP Releasing Parties have or allegedly have under the Cameron
Policies (including any claims as “additional insureds”), extra-contractual -
claims, warranty claims, statutory claims, declaratory judgment actions,
counterclaims, cross-claims, demands, and claims for damages, including
Claims for or based on payments made to or by the GCCF, that the BP
Releasing Parties have, ever had, hereafter may have, or have acquired or
may hereafter acquire by assignment or operation of law, against the
Cameron Insurers under or related to the Cameron Policies, whether
known or unknown, suspected or claimed, including all Claims for
subrogation, contribution or indemnity and all claims arising under any
other theory of recovery, whether or not yet asserted or accrued, arising
out of or related to the Deepwater Horizon Incident. The BP Releasing
Parties agree and covenant not to assert any Claim against the Cameron
Insurers under or related to the Cameron Policies, whether by complaint,

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cross-claim, counterclaim or other type of demand, for any loss, injury or
damage arising out of in any way or related to the Deepwater Horizon
Incident.

(c) The Cameron Releasing Parties hereby release and forever discharge the
BP Released Parties from any and all past, present or future Claims,
demands, lawsuits, damages, obligations, promises, losses, liabilities or
costs of any kind, nature or description whatsoever, including tort claims,
contract claims, warranty claims, statutory claims, declaratory judgment
actions, counterclaims, cross-claims, demands and claims for damages,
that the Cameron Releasing Parties have, ever had, hereafter may have, or
have acquired or may hereafter acquire by assignment or operation of law,
against the BP Released Parties, whether known or unknown, suspected or
claimed, including all Claims for subrogation, contribution or indemnity
and all claims arising under any other theory of recovery, whether or not
yet asserted or accrued, arising out of or related to the Deepwater Horizon
Incident. The Cameron Releasing Parties agree and covenant not to assert
any Claim against the BP Released Parties, whether by complaint, cross-
claim, counterclaim or other type of demand, for any loss, injury or
damage arising out of in any way or related to the Deepwater Horizon
Incident. For the avoidance of doubt, the scope of this release and waiver
does not include any rights to insurance coverage of the Cameron
Releasing Parties under any Cameron Polices.

42 Cameron, on behalf of itself; the Cameron Releasing Parties, the Cameron
Insurers, and any and all insurers, reinsurers, indemnitors, subrogees, or assignees of any
Cameron Releasing Parties or Cameron Insurers, releases the BP Released Parties, to the fullest
extent allowed by law, from and against any and all Claims that any of them have, ever had,
hereafter may have, or have acquired or may hereafter acquire against the BP Released Parties,
whether known or unknown, suspected or claimed, whether or not yet asserted or accrued, in
relation to all or any portion of any payment or other obligation arising out of or related to the
Deepwater Horizon Incident, including all claims for subrogation, contribution, indemnity and
all claims arising under any other theory of recovery. For avoidance of doubt, it is the intention
of Cameron, on behalf of itself, the Cameron Insurers, and the Cameron Releasing Parties, by
this paragraph 4.2, to release and waive, to the fullest extent allowed by law, any and all
subrogation, contribution, and indemnification rights or Claims against any BP Released Parties
that might be asserted by any insurer or reinsurer or indemnitor of any Cameron Releasing
Parties (but solely in its capacity as such), or any subrogee or assignee of any Cameron
Releasing Parties or any such indemnitor, insurer or reinsurer (but again, solely in its capacity as
such), such that the Cameron Releasing Parties and any such insurers, reinsurers, indemnitors,
subrogees and assignees shall have no right or Claim to recover against any BP Released Party in
regard to all or any portion of any payment made or rights assigned hereunder, at any time or
under any theory whatsoever, whether legal, equitable, or otherwise. Cameron represents and

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warrants that it is authorized by the Cameron Insurers to enter into the release and waiver in this
paragraph on their behalf.

4.3 Cameron, on behalf of itself, the Cameron Releasing Parties, the Cameron
Insurers, and any and all insurers, reinsurers, indemnitors, subrogees, or assignees of any
Cameron Releasing Parties or Cameron Insurers, agrees not to pursue, demand, litigate, or
otherwise seek any Claims for contribution, subrogation, indemnity,, or Claims arising under any
other theory of recovery, arising out of or related to the Deepwater Horizon Incident that any of
them have, ever had, hereafter may have, or have acquired or may hereafter acquire against any
Third Party, including against Transocean under the Transocean Contracts and against any
insurer of Transocean (acting in its capacity as such); provided that the scope of this paragraph
does not include any rights to insurance coverage that the Cameron Releasing Parties may have |
under the Cameron Policies. Cameron represents and warrants that it is authorized by the
Cameron Insurers to enter into this paragraph on their behalf. Without limiting the remedies for
any portion of this Agreement, the Parties agree that the BP Released Parties may enforce
specific performance of this Paragraph.

4.4 Notwithstanding paragraphs 4.1 through 4.3, each Party may enforce its rights
under this Agreement,

4.5 To the fullest extent allowed by law, Cameron hereby assigns all right, title, and
interest to all Claims that the Cameron Releasing Parties have asserted or could assert against
any Third Parties, including any indemnification claims against Transocean under the
Transocean Contracts, arising out of or relating to the Deepwater Horizon Incident (the
“Cameron Third Party Claims”) to BPXP, and BPXP accepts all right, title, and interest to all
Cameron Third Party Claims, To the extent that assignment of any Cameron Third Party Claims
is deemed invalid by a court or arbitration panel’ of competent jurisdiction, Cameron agrees on
behalf of the Cameron Releasing Parties to release, and covenants not to sue for, each and every
such Cameron Third Party Claim for which the assignment has been deemed invalid.

V. INDEMNITIES

5.1. BPXP’s Indemnities To The Cameron Released Parties. Subject in all respects
to paragraph 5.3, and subject to timely receipt of the Cash Payment in full, without set-off,
deduction or withholding, BPXP agrees to indemnify, but not defend, the Cameron Released
Parties for any and all Claims in any way relating to or arising out of the Deepwater Horizon
Incident, including, the following Claims against the Cameron Released Parties to the extent
resulting from the Deepwater Horizon Incident:

(a) Claims for pollution, contamination or damage to natural resources;

(b) | Claims for losses of or damages to (i) the MC252 Well; (ii) the reservoir at
the Macondo Prospect, and (iii) any property right in or to oil, gas, or
other mineral substances at the Macondo Prospect;

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(c)

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Claims for personal injury (including bodily injury), illness, or death,
except for such Claims brought by or on behalf of individuals within the
definition of Cameron Released Parties incurred during the course of
performing their responsibilities for Cameron;

Claims for damages to or losses of equipment and property belonging to
the BP Released Parties or Working Interest Owners and located at the
Macondo Prospect;

Claims for killing the MC252 Well or otherwise bringing the MC252 Well
under control;

Claims for compensatory damages (but not fines, penalties and sanctions),
brought by federal, foreign, state or local governments and their
subdivisions, agencies, and trustees; and

Not used,

5.2 Cameron’s Indemnities to the BP Released Parties. Notwithstanding anything
contained in any other provision of this Agreement, including this paragraph 5.2, Cameron shall
have no obligation to indemnify the BP Released Parties for any punitive, exemplary, multiple,
or other non-compensatory damages and any civil, criminal or administrative fines or penalties
or sanctions, including any monies associated with a deferred or non-prosecution agreement, or a
civil judgment or settlement that adjudicates or resolves a Claim or Claims for fines, penalties, or
sanctions. Otherwise, Cameron agrees to indemnify, but not defend, the BP Released Parties for
the following Claims in any way relating to or arising out of the Deepwater Horizon Incident:

(a)

(b)

Claims for personal injury (including bodily injury), illness, or death,
brought by or on behalf of individuals within the definition of Cameron
Released Parties incurred during the course of performing their
responsibilities for Cameron, provided that for the avoidance of doubt this
subparagraph is not intended to apply to Claims by individuals within the
definition of Cameron Released Parties that arise outside of the course of
performing their responsibilities for Cameron;

Claims for damages to or losses of equipment and property belonging to
the Cameron Released Parties, provided that for the avoidance of doubt
this subparagraph is not intended to apply to Claims by individuals within
the definition of Cameron Released Parties for losses of their personal
property or equipment that arise outside of the course of performing their
responsibilities for Cameron;

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(c)

(d)

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All amounts that are paid by the GCCF for any Claims for which Cameron
is responsible for indemnifying the BP Released Parties under this
paragraph 5.2, which Cameron shall reimburse to BPXP; and

Not used.

5.3. Scope of BPXP’s Indemnities. Notwithstanding anything contained in any other
provision of this Agreement, including paragraphs 2.5 and 5.1, BPXP’s indemnification
obligations pursuant to this Agreement do not include:

(a)
(b)

(c)

(d)

()

(f)

Claims for which Cameron is indemnifying the BP Released Parties;

Any civil, criminal or administrative fines or penalties or sanctions,
including any monies associated with a deferred or non-prosecution
agreement, or a civil judgment or settlement that adjudicates or resolves a
Claim or Claims for fines, penalties, or sanctions;

Any punitive, exemplary, multiple or other non-compensatory damages;

Any Claims for any Cameron Released Party’s lost profits, lost revenues,
lost business opportunities, or business interruption, provided that for the
avoidance of doubt this subparagraph is not intended to apply to Claims by
individuals within the definition of Cameron Released Parties for such
Claims for lost profits, lost revenues, lost business opportunities, or
business interruption that arise outside of the course of performing their
responsibilities for Cameron;

Claims for indemnification that any Cameron Releasing Party, or its
insurers, reinsurers, indemnitors, subrogees, or assignees, has, ever had,
hereafter may have, or has acquired or may hereafter acquire against any
Third Party, including under the Transocean Contracts,;

Litigation costs, including attorneys’ fees, incurred by the Cameron
Released Parties or Cameron Insurers related to any and all Claims by or
against any of them in any form, including Claims for which BPXP is
obligated to indemnify the Cameron Released Parties pursuant to
paragraph 5.1; and

Claims, damages, losses, liabilities, fees, settlements, judgments, costs, or
other expenses or obligations arising from or related to: derivative Claims
brought by shareholders or members of a corporation or an unincorporated
association purportedly on behalf of any Cameron Released Parties;
securities Claims brought against any Cameron Released Parties;
shareholders’ Claims brought against any Cameron Released Parties;

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Claims for fraudulent conveyance and similar creditors’ remedies brought
against or on behalf of any Cameron Released Parties; pension plan or
employee benefit plan Claims brought against any Cameron Released
Parties; Employee Retirement Income Security Act (“ERISA”) Claims
brought against Cameron Released Parties; or Fair Labor Standards Act
Claims brought against any Cameron Released Parties; or Racketeer
Influenced and Corrupt Organizations Act (“RICO”) Claims brought
against any Cameron Released Parties.

5.4 BPXP’s Indemnities to Cameron Insurers. Notwithstanding paragraph 4.2,
BPXP shall indemnify, but not defend, Cameron Insurers for any “direct action” Claims under
the Cameron Policies made by any Third Parties directly against Cameron Insurers under L.S.-
RS. 22:1269 or any similar applicable direct action statute, provided that such Claims result
from the Deepwater Horizon Incident and only to the extent, and under the same terms, that BP
would be obligated to indemnify Cameron under this Agreement if the damages or any other
relief or recovery sought in such Claims were sought by such Third Parties directly against
Cameron. For the avoidance of doubt, in no event shall BPXP be obligated to defend or
indemnify Cameron Insurers for (a) any defense costs of any nature or kind whatsoever, (b) any
costs incurred in connection with any counterclaims or Claims for affirmative relief by Cameron
Insurers, or (c) any damages or other relief for which BPXP would not be obligated to indemnify
Cameron pursuant to the indemnities provided in paragraph 5.1 if such damages or other relief
had been sought from Cameron.

5.5 BPXP’s Rights And Responsibilities As Indemnitor.

(a) In addition to any rights afforded by applicable law, BPXP as indemnitor
shall have the following rights:

(i) The right, at its election, to conduct or control any settlement
negotiations that are reasonably expected to trigger Claims under
or pursuant to the indemnities in paragraph 5.1 of this Agreement.
Tn the event BPXP exercises this right, BPXP shall keep Cameron
reasonably informed of the progress of any settlement negotiations.

Gi) ‘The final authority to approve any settlement that may give rise to
a Claim under or pursuant to the indemnities contained in
paragraph 5.1 of this Agreement; which settlement shall not be
entered into without BPXP’s approval. BPXP’s approval of any
settlement that is covered by the indemnities contained in
paragraph 5.1 of this Agreement shall not be unreasonably
withheld.

Gii) ‘In the event that, subject to Cameron’s rights in paragraph 5.7, any
BP Released Party enters into a settlement agreement that relates to

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5.6

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a Claim which may be the subject of the indemnities contained in
paragraph 5.2 of this Agreement, such BP Released Parties shall
obtain releases broad enough to release the Cameron Released
Parties and all Third Parties from any further or future liability for
the Deepwater Horizon Incident, and the terms of which shall be
subject to Cameron’s prior, approval which will not be
unreasonably withheld.

Cameron agrees on behalf of the Cameron Released Parties that to the
extent that BPXP or BPCNA makes any payment in connection with its
indemnification of the Cameron Released Parties for Claims, BPXP or
BPCNA shall be subrogated to the extent of such payment to all of the
rights of the Cameron Released Parties, and, at the request of BPXP or
BPCNA, Cameron shall cause the Cameron Released Parties to take all
reasonable action necessary to secure such rights, including the execution
of such documents as are necessary to enable BPXP or BPCNA to bring
suit to enforce such rights.

Unless the Parties agree that BPXP shall assume the defense of the
Cameron Released Parties in any lawsuit or other proceeding covered by
its obligation to indemnify under this Agreement, the Cameron Released
Parties shall use their reasonable best efforts to assume the defense in and
defend such lawsuit or other proceeding. BPXP shall have no right to
assume the defense of any Cameron Released Party in any lawsuit or other
proceeding covered by the indemnity in paragraph 5.1 without the
approval of such Cameron Released Party.

The Cameron Released Parties’ Rights And Responsibilities As Indemniitees.

(a)

In addition to any rights afforded by applicable law, any Cameron
Released Parties indemnified pursuant to this Article V, as the indemnitee,
shall have the following responsibilities:

(i) To promptly notify BP-XP in writing and in reasonable detail of
any Claim that may give rise to a Claim under or pursuant to the
indemnities contained in paragraph 5.1 of this Agreement.

Gi) To keep BPXP reasonably informed and to reasonably consult
BPXP with respect to the progress of any Claim, or any settlement
negotiations that any Cameron Released Party is responsible for
relating to a Claim, covered by any of the indemnities contained in
paragraph 5.1 of this Agreement.

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In the event that, subject to BPXP’s rights in paragraph 5.5, any
Cameron Released Party enters into a settlement agreement that
relates to a Claim which may be the subject of the indemnities
contained in paragraph 5.1 of this Agreement, such Cameron
Released Parties shall obtain releases broad enough to release the
BP Released Parties and all Third Parties from any further or
future liability for the Deepwater Horizon Incident, and the terms

of which shall be subject to BPXP’s prior, written approval which

will not be unreasonably withheld.

5.7 Cameron’s Rights And Responsibilities As Indemnitor.

(a)

(b)

In addition to any rights afforded by applicable law, Cameron as
indemnitor shall have the following rights:

@

(ii)

Gi)

(iv)

.The right, at its election, to conduct or control any settlement

negotiations that are reasonably expected to trigger Claims under
or pursuant to the indemnities in paragraph 5.2 of this Agreement.

The final authority to approve any settlement that may give rise to
a Claim under or pursuant to the indemnities contained in
paragraph 5.2 of this Agreement, which settlement shall not be
entered into without Cameron’s approval. Cameron’s approval of
any settlement that is covered by the indemnities contained in
paragraph 5.2 of this Agreement shall not be unreasonably
withheld.

In the event Cameron elects to conduct or control any settlement
negotiations that are reasonably expected to give rise to a Claim
under or pursuant to the indemnities contained in paragraph 5.2 of
this Agreement, Cameron shall keep BPXP reasonably informed of
the progress of any settlement negotiations.

Payments by the GCCF shall not be considered settlements, but
instead shall be treated the same as court judgments for purposes
of Cameron’s indemnification obligations to the BP Released
Parties.

Unless the Parties agree that Cameron shall assume the defense of the BP
Released Parties in any lawsuit or other proceeding covered by its

- obligation to indemnify under this Agreement, the BP Released Parties

shall use their reasonable best efforts to assume the defense in and defend
such lawsuit or other proceeding. Cameron shall have no right to assume
the defense of any BP Released Party in any lawsuit or other proceeding

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covered by the indemnity in paragraphs 5.2 or 5.7(c)-(e) without the
approval of such BP Released Party.

Notwithstanding any provision in this Agreement to the contrary
(including anything stated in Article IV), Cameron agrees to indemnify the
BP Released Parties for and against any Claims of any kind or nature
whatsoever, in law or in equity, asserted apainst any: of the BP Released
Parties by or on behalf of any party seeking to recover (i) all or any
amount of any payment made by or due from Cameron to BPXP under
this Agreement or (ii) all or any amount of any payment for loss relating to
the Deepwater Horizon Incident made by, or at any time committed to by,
any Cameron Releasing Parties (or any insurer under the Cameron
Policies, or any subrogee or assignee of Cameron or of any such Cameron
Policies) to any Third Party, provided that such payment or commitment is
not the subject of the indemnities provided by BPXP to the Cameron
Released Parties in this Agreement.

Notwithstanding any provision in this Agreement to the contrary
(including anything stated in Article IV), Cameron agrees to indemnify the
BP Released Parties for and against any Claims of any kind or nature
whatsoever arising out of or relating to the Deepwater Horizon Incident
asserted against any of the BP Released Parties by or on behalf of (i) any
Cameron Released Party incurred during the course of performing their
responsibilities for Cameron, provided that for the avoidance of doubt this
subparagraph is not intended to apply to Claims by individuals within the
definition of Cameron Released Parties that arise outside of the course of
performing their responsibilities for Cameron; (ii) any Cameron Insurer;
or (11) any and all reinsurers, indemnitors, subrogees, or assignees of any
Cameron Released Party or Cameron Insurer, arising out of or related to
the Deepwater Horizon Incident. Without limitation, this indemnity
includes any Claim made in breach in paragraph 4.2.

Notwithstanding any provision in this Agreement to the contrary
(including anything stated in Article IV), in the event any Cameron
Releasing Party, any Cameron Insurer, or any and all insurers, reinsurers,
indemnitors, subrogees, or assignees of any Cameron Releasing Party or
Cameron Insurer, seeks to recover on any Cameron Third Party Claims,
including against Transocean under the Transocean Contracts, Cameron
agrees to indemnify the BP Released Parties for and against any Claims of
any kind or nature whatsoever, in law or in equity, asserted against any BP
Released Parties by or on behalf of any Third Party, including Transocean,
seeking to recover from the BP Released Parties all or any amount of any
payment made by the Third Party as a result of a Claim made by any of

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the Cameron Releasing Parties for any Cameron Third Party Claim,
including Claims for indemnification or contribution including such
Claims by Transocean. Without limitation, this indemnity includes any
Claim made in breach of paragraphs 4.3 or 4.5.

# The indemnities described in paragraphs 5.7(c) through (e) shall include
the payment of the BP Released Parties’ costs, attorneys’ fees, and
expenses in any lawsuit or other proceeding. It is the express intent of the
Parties that unless otherwise agreed to by the Parties, the BP Released
Parties shall retain and be represented by their own counsel in any matter
to which the indemnities in paragraphs 5.7(c) through (e) may apply.

(g) In addition to any rights afforded by applicable law, any BP Released
Party indemnified pursuant to this Article V, as the indemnitee, shall have
the following responsibilities:

(i) To promptly notify Cameron in writing and in reasonable detail of
any Claim that may give rise to a Claim under or pursuant to the
indemnities contained in paragraph 5.2 or 5.7 of this Agreement.

(ii) | To keep Cameron reasonably informed and to reasonably consult
Cameron with respect to the progress of any Claim, or any
settlement negotiations that any BP Released Party is responsible
for relating to a Claim, covered by any of the indemnities
contained in paragraph 5.2 or 5.7 of this Agreement.

5.8 SUBJECT TO THE LIMITATIONS ON INDEMNITIES IN ARTICLE V,
THE PARTIES EXPRESSLY ACKNOWLEDGE AND AGREE THAT THE
INDEMNITIES AND RELEASES OF LIABILITY CONTAINED IN THIS
AGREEMENT SHALL APPLY REGARDLESS OF WHETHER THE CLAIM OR
LIABILITY IS PREDICATED ON THE SOLE, JOINT OR CONCURRENT FAULT,
NEGLIGENCE, GROSS NEGLIGENCE, OR STRICT LIABILITY OF THE BP
RELEASED PARTIES OR THE CAMERON RELEASED PARTIES, AND
ACKNOWLEDGE THAT ARTICLE V (INDEMNITIES) COMPLIES WITH ANY
REQUIREMENT THAT SUCH INDEMNITIES BE EXPRESS, CONSPICUOUS, AND
AFFORD FAIR AND ADEQUATE NOTICE.

5.9 Except for the Cameron Policies, this Agreement is not intended to, and shall not,
prejudice any rights to insurance coverage that the BP Releasing Parties may have had as of the
Effective Date or may have in the future under any insurance or reinsurance policy that may
apply to the Deepwater Horizon Incident.

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Vi. COOPERATION

6.1 BPXP and Cameron agree to cooperate, and shall each cause their respective
Affiliates, personnel, employees, attorneys, agents and representatives to cooperate, in the
Litigation, to the extent consistent with all applicable laws, including the following:

(a)

(b)

Subject to and pursuant to whatever court or body of law has jurisdiction
over this Agreement, the Parties agree to cooperate fully and truthfully in
the defense of any and all Claims relating to the Deepwater Horizon
Incident, where BPXP and/or Cameron or their respective Affiliates are
parties. The Parties further agree that they will continue to truthfully
present the evidence and facts in any litigation, arbitration, governmental
or regulatory proceeding or other Claim arising out of or related to the
Deepwater Horizon Incident. Nothing in this Agreement prevents or
restricts in any way any Person from fully and truthfully cooperating with,
or from truthfully and completely testifying before, any federal, state,
local or foreign government entity, including any federal, state or local
governmental, regulatory or self-regulatory agency, body, committee
(Congressional or otherwise), commission, or authority (including any
governmental department, division, agency, bureau, office, branch, court,
arbitrator, commission, tribunal, or other governmental instrumentality)
(“Governmental Entity”), with respect to any investigation or inquiry
concerning the Deepwater Horizon Incident. Further, nothing in this
Agreement limits any Party’s ability to assert any and all matters of law or
fact, including any assertion by Cameron of any rights under the
Transocean Contracts, as a defense (and solely as a defense) to any Claim
brought against it. ,

The Parties agree, to the extent practicable, consistent with applicable
laws, and subject to any confidentiality limitations or restrictions, and also
subject to attorney-client or other legal privilege, and further recognizing
that some individuals are represented by independent counsel, to provide
each other, upon formal or informal request from their respective counsel,
with reasonable and direct access to their respective personnel, employees,
documents, business records and all other evidence in their possession,
custody or control, including physical evidence, samples, additives, and
other materials. The Parties agree to consult with one another before
noticing or otherwise seeking the deposition of an employee of the other
Party to discuss alternative ways to obtain information or evidence. Such
access to Cameron’s personnel, employees, documents, records and other
evidence in their possession, custody or control is intended to allow BPXP
to better understand the causes of the Deepwater Horizon Incident and
what was known by Cameron before and at the time of the Deepwater

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’ Horizon Incident, and thus allow for improved safety in drilling
operations.

VILGUARANTEE

TA BPCNA shall execute a Guarantee in the form attached hereto as Exhibit B.

Vill. CONFIDENTIALITY

8.1 Subject to paragraphs 8.2 and 8.3, the Parties and their respective attorneys agree
to keep the terms and conditions of this Agreement confidential and shall not disclose this
Agreement to any other Person. Nothing in this paragraph shall preclude disclosure of this
Agreement before or after the date of this Agreement: (i) to the Parties’ employees, parents, or
Affiliates who agree to keep the information confidential; (ii) to the Parties’ attorneys who agree
to keep the information confidential; (iii) to the Parties’ accountants, tax preparers, advisors,
insurers, debt rating agencies or auditors for limited and legitimate purposes or to conduct
financial affairs and who agree to keep the information confidential; (iv) to the Cameron
Insurers’ tax preparers, advisors, auditors, accountants, reinsurers and retrocessionnaires for
limited and legitimate purposes or to conduct financial affairs and who agree to keep the
information confidential; (iv) as necessary to preserve or assert the parties' rights under this
Agreement; or (v) as required by law, regulation, stock exchange rule, subpoena and/or a court
order or arbitral award. Each Party reserves the right to file or have its Affiliates file this
Agreement as an exhibit to filings with the Securities and Exchange Commission if that Party or
its Affiliates determines, in their sole discretion, that such filing is required by the regulations of
the Securities and Exchange Commission or necessary to make any registration statement filed
with the Securities and Exchange Commission effective or otherwise continue its effectiveness.

8.2 If any Party is served with a subpoena or other form of discovery request that
would call for disclosure of this Agreement, it shall, to the extent permissible, give prompt
written notice to the other Party and oppose disclosure to the extent practicable unless this
provision is waived in writing by the other Parties. Except as provided in the last sentence of
8.1, if any Party is required by law, regulation, stock exchange rule, court order or subpoena to
disclose this Agreement, it shall, to the extent permissible, give notice to the other Party prior to
such disclosure and use reasonable best efforts to ensure that such disclosure is made pursuant to
an applicable confidentiality or protective order, to the extent available.

8.3. Notwithstanding paragraph 8.1, the fact that BPXP and Cameron have reached a
settlement on issues related to the Deepwater Horizon Incident shall not be confidential and may
be publicly disclosed. The form, content, and timing of any press release relating to this
settlement shall be subject to mutual agreement of the Parties, which shall not be unreasonably
withheld.

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IX. MISCELLANEOUS PROVISIONS

9.1 Notice. Notice to BPXP pursuant to this Agreement shall be sent by electronic
mail, certified mail or overnight delivery to:

John E. Jack) Lynch Jr.

Deputy Group General Counsel
Chief Counsel Gulf Coast Restoration
U.S. General Counsel

BP America Inc.

501 WestLake Park Boulevard
Houston, TX 77079

Tel: (281) 366-1500

Fax: (713) 375-2808

E-mail: john. lynch@uk.bp.com

and

James J. Neath

Associate General Counsel
BP America Inc.

501 Westlake Park Boulevard
Houston, TX 77079

Tel: (281) 366-5815

Fax: (281) 366-5901

E-mail: James. Neath@bp.com

Notice to Cameron pursuant to this Agreement shall be sent by electronic mail, certified mail or
overnight delivery to:

William C. Lemmer

Senior Vice President and General Counsel
Cameron International Corporation

1333 West Loop South, Suite 1700
Houston, TX 77027

Tel: (713) 513-3360

Fax: (713) 513-3499

E-mail: William. Lemmer@c-a-m.com

9.2 Unknown Facts, The Parties acknowledge that they may hereafter discover facts
different from or in addition to those that they now know to be or believe to be true with respect
to the Claims being made in the Litigation and agree that this Agreement and the releases and
indemnities contained herein shall be and remain effective in all respects, notwithstanding such
different or additional facts and subsequent discovery thereof.

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9.3 Representations And Warranties,

(a)

(b)

(c)

(d)

Each Party represents and warrants that: (i) it is a corporation or limited
liability company, as the case may be, duly organized, validly existing,
and in good standing under the laws of its jurisdiction of incorporation or
formation; (ii) it has all requisite corporate or limited liability company, as
the case may be, power and authority to enter into this Agreement; (iii) the
execution, delivery and performance of this Agreement has been duly
authorized by all necessary corporate or limited liability company action,
does not violate any applicable law or regulation to which either Party is
subject, and does not conflict with, or result in a breach of, any provision
of the organizational documents of such Party; (iv) this Agreement has
been duly executed and delivered by such Party and (assuming due
authorization and delivery by the other Party) constitutes a valid and
binding agreement of such Party, enforceable in accordance with its terms;
and (v) it has not assigned, transferred, or conveyed, or purported to have
assigned, transferred or conveyed, to any Person or entity any property,
interest, claim, demand, debt, liability, account, obligation, or cause of
action herein transferred, released or assigned.

BPXP represents and warrants that it is authorized to act on behalf of the
BP Releasing Parties in all respects pertinent to this Agreement. BP-XP
shall defend and indemnify the Cameron Released Parties for any breach
of this representation and warranty.

Cameron represents and warrants that it is authorized to act on behalf of
the Cameron Releasing Parties and Cameron Insurers in all respects
pertinent to this Agreement. Cameron shall defend and indemnify the BP
Released Parties for any breach of this representation and warranty,
including, consistent with paragraph 5.7(c)-(e), any breach of paragraph
4.2 or 4.3 by the Cameron Insurers.

EXCEPT FOR THE EXPRESS WARRANTIES IN THIS AGREEMENT,
EACH PARTY DISCLAIMS ALL REPRESENTATIONS AND
WARRANTIES, EXPRESS OR IMPLIED.

9.4 Assignment; Binding On Successors And Assigns. Neither this Agreement nor
any of the rights, interests or obligations hereunder shall be assigned by Cameron without the
prior written consent of BPXP. Neither this Agreement nor any of the rights, interests or
obligations hereunder shall be assigned by BPXP without the prior written consent of Cameron.
Any attempt to make an assignment hereunder without the approval of the other Party shall be
null and void with no force or effect. No assignment by any Party shall relieve such Party of any
of its obligations hereunder. Subject to the foregoing, this Agreement shall be binding upon and
inure to the benefit of and be enforceable by the Parties, their respective successors, permitted

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assigns, predecessors, insurers or reinsurers of any type or degree, subrogees of any type, parents
and Affiliates, and legal representatives.

9.5 Taxes. Each Party to this Agreement shall separately and independently bear
responsibility to report any payment specified in this Agreement to the proper Governmental
Entities, as necessary. The Parties acknowledge and agree that the amount of any payment :
specified in this Agreement shall not be reduced on account of any withholding tax. The parties
further acknowledge and agree that they each are relying upon their own counsel and/or tax
advisors for any tax matters or advice. i

9.6 Construction. This Agreement shall be interpreted as if jointly written by all
Parties, and the rule of construction providing that any ambiguities are to be resolved against the
drafting party shall not be used in interpreting this Agreement. Prior drafts of this Agreement |
may not be used to construe this Agreement. No term of this Agreement may be released, |
discharged, abandoned, changed, or modified in any manner, oral or otherwise, except by a
written instrument duly signed by each Party. With respect to corporate Parties, such signature
must be by an authorized officer of such Party. '

9.7 Independent Investigation. The Parties acknowledge, represent and warrant
that, in entering this Agreement, each Party has made an independent investigation of the facts
and is not. relying upon any statements or representations, other than those contained herein,
made by the other Party, its agents, employees, attorneys or representatives, and that no one,
including any of the Parties’ agents, employees, attorneys or representatives, has made any
promise, representation or warranty relating to this Agreement, or offered any further
consideration to enter into this Agreement, except as recited herein.

9.8 Entire Agreement. This Agreement contains the entire agreement between the

Parties concerning the subject matter hereof and supersedes and cancels all previous agreements,

" hegotiations, and commitments, whether oral or in writing, with respect to the subject matter of
this Agreement.

9.9  Enforceability. Other than the assignment of Cameron Third Party Claims
provided for in the first sentence in paragraph 4.5, if any portion of Articles IU, IV, or V of this
Agreement is held to be illegal, invalid, or unenforceable, then this entire Agreement shall be
null and void and all monies paid hereunder shall be returned to the paying Party. If the
Guarantee in Exhibit B is held by a court or other tribunal and not subject to further review to be
illegal, invalid or unenforceable, then Cameron, in its sole discretion, may declare this entire
Agreement null and void and all monies paid hereunder shall be returned to the paying Party.
Subject to the preceding two sentences, the illegality, invalidity or unenforceability of any other
provision of this Agreement shall not operate to invalidate the whole Agreement and shall not
affect the validity or enforceability of any other provisions of this Agreement.

9.10 No Waiver of Privileges. Nothing in this Agreement shall be deemed a waiver
by BPXP or Cameron or any of their respective Affiliates of any privilege (including attorney-

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client-privilege) or protection (including the work product doctrine). Similarly, nothing in this
Agreement shall require BPXP or Cameron or any of their respective Affiliates to violate the
terms of any applicable joint defense agreement, confidentiality agreement or protective order.

9.11 No Agency Or Joint Venture. Nothing in this Agreement shall make BPXP or
Cameron (or any of their respective past or present predecessors, successors, agents, servants,
representatives, officers, directors, employees, stockholders, attorneys, administrators, or
Affiliates) the fiduciary or agent of the other, nor will anything in this Agreement constitute a
joint venture, agency, partnership or similar relationship.

9.12 Dispute Resolution. It. is the intent of the Parties to use their respective
commercially reasonable efforts to resolve expeditiously any dispute between them with respect
to the matters covered by this Agreement that may arise from time to time on a mutually
acceptable negotiated basis. In furtherance of the foregoing, any Party involved in a dispute,
controversy or Claim may deliver a notice (an “Escalation Notice”) demanding an in-person
meeting involving representatives of the Parties at a senior level of management (or if the Parties
agree, of the appropriate business function or division within such entity). Any agenda, location
or procedure for such discussions or negotiations between the Parties may be established by
agreement of the Parties from time to time; provided, however, that the Parties shall use their
commercially reasonable efforts to meet within 20 days of the Escalation Notice. Following
delivery of an Escalation Notice, the Parties shall undertake good faith, diligent efforts to
negotiate a commercially reasonable resolution of the dispute. The Parties may, by mutual
consent, retain a mediator to aid the Parties in their discussions and negotiations. Any opinion
expressed by the mediator shall be strictly advisory and shall not be binding on the Parties, nor
Shall any opinion expressed by the mediator be admissible in any Forum. The mediator may be
chosen from a list of mediators selected by the Parties or by other agreement of the Parties. All
third-party costs of the mediation shall be borne equally by the Parties involved in the matter,
and each Party shall be responsible for its own expenses. Any dispute arising from or related to
this agreement, if not otherwise resolved under this paragraph, shall be fully and finally resolved
by binding arbitration in Houston, Texas, before a panel of three arbitrators, pursuant to the
commercial arbitration rules of the American Arbitration Association in effect at the time a
written demand for arbitration is first made. The award rendered by the arbitrators shall be final
and binding, and judgment may be entered upon it in accordance with applicable law in any
court having jurisdiction.

9.13 Choice of Law. The Parties agree that general maritime law shall control the
construction, interpretation, enforcement or validity of this Agreement, without regard to any
conflicts-of-law rules.

9.14 No Third Party Beneficiaries. This Agreement shall not confer any rights or
remedies upon any entity other than BPXP and Cameron, except as expressly provided herein
(including Articles IV and V, and including the Cameron Insurers to the extent expressly
provided herein), and specifically shall not provide any rights or remedies upon Transocean.
Without limitation and for the avoidance of doubt, Cameron Released Parties and BP Released

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Parties shall be entitled to the benefit of releases and indemnities as set forth herein, even if they
are not signatories to this Agreement.

9.15 Counterparts, This Agreement may be executed in one or more counterparts,
each of which shall have the same force and effect as an original. The Parties hereto also agree
that facsimile or email signatures are effective as original signatures.

9.16 Headings. The section captions contained in this Agreement are provided only as
matter of convenience and for reference and in no way define, limit, extend or describe the scope
of this Agreement or the intent of any provision, and shall not affect the construction,
interpretation, performance or validity of this Agreement.

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IN WITNESS WHEREOE, the Parties have caused this Agreement to be duly executed in
their representative corporate capacity by their duly authorized officers, as of the day and year
first written above.

BP EXPLORATION & PRODUCTION INC.

By:
Name:
Title:

BP CORPORATION NORTH AMERICA INC,

By:
Name:
Title:

CAMERON INTERNATIONAL CORPORATION

By:
Name:
Title:

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EXHIBIT A

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EXHIBIT B
GUARANTEE

1. BP Corporation North America Inc. (the “Guarantor”), absolutely, unconditionally and
irrevocably guarantees to Cameron International Corporation (the “Beneficiary”) that BP
Exploration and Production Inc. (“BPXP”) will duly and punctually perform, comply with, and
observe all of BPXP’s obligations (the “Obligations”) under that certain Confidential Settlement
Agreement, Mutual Releases and Agreement to Indemnify dated December 2011 (the
“Agreement”), including all of its payment obligations, as and when required in accordance with
the terms thereof, in each case, without regard to whether such obligation is direct or indirect,

now or hereafter existing or owing, or incurred or payable before or after commencement of any

proceedings by or against BPXP under any applicable bankruptcy or insolvency law.
Notwithstanding anything to the contrary in this Guarantee, the commencement of any
proceedings by or against BPXP under any applicable bankruptcy or insolvency law shall not
relieve the Guarantor of its obligations under this Guarantee or impair the enforcement thereof
by the Beneficiary.

2. This Guarantee is an absolute and continuing guarantee of performance and payment (and
not of collection) of the Obligations. This Guarantee is in no way conditioned upon any attempt
to collect any payment from, or enforce any Obligation upon, BPXP or upon any other event or
contingency, and shall be binding upon and enforceable against the Guarantor.

3. The obligations of the Guarantor set forth herein constitute the full recourse obligations
of the Guarantor enforceable against it to the full extent of all its assets and properties.

4. The obligations of the Guarantor hereunder shall not be subject to any counterclaim,
setoff, deduction, diminution, abatement, stay, recoupment, suspension, deferment, reduction or
defense (other than full and strict payment or other satisfaction of the Obligations) based upon
any claim the Guarantor may have against the Beneficiary or any other obligor. The obligations
of the Guarantor hereunder shall remain in full force and effect without regard to, and shall not
be released, discharged or reduced (except to the extent of any defenses to payment or
performance to which BPXP is entitled under the Agreement) for any reason, including (a) any
amendment or waiver of any term of the Agreement, whether or not the Beneficiary, BPXP or
the Guarantor has notice or knowledge of any of the foregoing; or (b) any bankruptcy,
insolvency or similar proceeding with respect to the Guarantor or BPXP or their respective
properties, or any action taken by any trustee or receiver or by any court in any such proceeding.

5. The Guarantor unconditionally waives all notices which may be required by statute, rule
of law or otherwise to preserve any rights against the Guarantor hereunder, including (a) notice
of the acceptance of this Guarantee by the Beneficiary or any: assignee thereof, or the
modification of the Obligations or notice of any other matters relating thereto; (b) any
presentment, demand, notice of dishonor, protest or nonpayment of any damages or other
amounts payable under the Agreement; (c) any requirement for the enforcement, assertion or

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exercise of any right or remedy under the Agreement; (d) any requirement of diligence; (e) the
right to require the Beneficiary to proceed against BPXP or any other person liable on the
Obligations, and the Guarantor waives the right to have the property of BPXP first applied to
discharge the Obligations.

6. Representations and Warranties

Gi) The Guarantor is an Indiana corporation duly formed and validly existing under
the laws of its jurisdiction of formation.

(ii) The Guarantor has the power and authority to execute, deliver and perform its
obligations under this Guarantee and has taken all necessary action to authorize the execution,
delivery and performance of this Guarantee. No consent is required for the due execution,
delivery and performance by the Guarantor of this Guarantee, except those that have been
obtained and are in full force and effect.

Git) The authorization, execution, delivery and performance of this Guarantee by the
Guarantor will not result in any breach of or default under (or any condition which with the
giving of notice or lapse of time or both would constitute a breach or default under) (i) the
constituent documents of the Guarantor, or (ii) any contract, indenture,’ mortgage, security
agreement or other document, instrument or agreement or any judgment, order or decree to
which the Guarantor is a party or to which the Guarantor or any of its property is subject.

7. Miscellaneous

(i) The Guarantor shall not assign any of its rights or delegate any of its duties under
this Guarantee to any Person without the prior written consent of the Beneficiary.

(ii) This Guarantee shall remain in full force and effect until such time all the
Obligations have been performed in full or are no longer in effect.

(iii) | Any notice to BPXP and Guarantor pursuant to this Guarantee shall be sent by
electronic mail and overnight mail to the following individuals:

John E. (Jack) Lynch Jr. James J. Neath

Deputy Group General Counsel Associate General Counsel

U.S. General Counsel BP America Inc.

BP America Inc. 501 Westlake Park Boulevard
501 Westlake Park Boulevard Houston, TX 77079
Houston, TX 77079 E-mail: James, Neath@bp.com |

E-mail: John.Lynch@uk.bp.com

Any notice to Beneficiary pursuant to this Guarantee shall be sent by electronic mail and
overnight mail to the following individuals:

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William C. Lemmer

Senior Vice President and General Counsel
Cameron International Corporation

1333 West Loop South, Suite 1700
Houston, TX 77027

Tel: (713) 513-3360

Fax: (713) 513-3499

E-mail: William. Lemmer@c-a-m.com

(iv) This Guarantee shall not be amended without the written consent of the Guarantor
and the Beneficiary.

(v) Upon written demand, the Guarantor shall pay all reasonably incurred and
properly documented out-of-pocket expenses incurred by the Beneficiary, including fees and
disbursements of counsel, in connection with the enforcement of the obligations of the Guarantor
under this Guarantee. Any amount owed to the Beneficiary under this Guarantee shall earn
interest accruing daily from the deadline for payment thereof until paid at the lesser of (i) an
annual rate equal to LIBOR plus three (3) percentage points, or (ii) the maximum rate allowed by
applicable Law.

(vi) THIS GUARANTEE SHALL BE GOVERNED IN ALL RESPECTS,
INCLUDING AS TO VALIDITY, INTERPRETATION AND EFFECT, BY THE LAWS-OF
THE STATE OF DELAWARE, WITHOUT GIVING EFFECT TO ITS PRINCIPLES OR
RULES OF CONFLICT OF LAWS, TO THE EXTENT SUCH PRINCIPLES OR RULES ARE
NOT MANDATORILY APPLICABLE BY STATUTE AND WOULD PERMIT OR REQUIRE
THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.

(vii) This Guarantee is subject to the dispute resolution procedures set forth in
paragraph of the Agreement.

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